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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )      Criminal No. 1:18-cr-10106-PBS
                                              )
DEMONE COLEMAN                                )
                                              )
       Defendant.                             )

                                   FINAL STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties hereby file the following final status report
prepared in connection with the final status conference scheduled for September 11, 2018:

       (1)     Rule 11

       The Defendant does not request that this case be transferred to the District Judge for a
Rule 11.

       (2)     Pretrial Conference

       The parties are requesting a pretrial conference, and state:
              (A) the Government has produced all discovery;
              (B) there are no pending discovery motions;
              (C) the Defendant does not anticipate filing any 12(b) motions;
              (D) all of the time since Defendant’s initial appearance has been excluded, and the
                  parties request the Court exclude the time from the final status conference
                  through the date of the pre-trial conference; and
              (E) the Government estimates a trial in this case would last between two and three
                  days.

       (3)     Other Matters

       The parties are currently in discussions to resolve this case via plea agreement.

Respectfully submitted,

ANDREW E. LELLING                                            By:     /s/ Ian Gold
United States Attorney                                               Ian Gold

BY:    Nicholas Soivilien                                            Counsel for Defendant

       Nicholas Soivilien
       Assistant United States Attorney

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                                 CERTIFICATE OF SERVICE

       I, Nicholas Soivilien, hereby certify that the foregoing was filed through the Electronic
Court Filing system and will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing.

Date: September 10, 2018                              /s/ Nicholas Soivilien
                                                      Assistant United States Attorney




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